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                                   14051




                  EXHIBIT 85
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                                    14052
                               Monday, May 22, 2017
  Matt Heimbach (Redacted

  Can't talk , text me .
                               PII
                                           07:39:59
                                                                                             69
                                                                   Redacted PII

                                                                    Hey Matt . This is Jason Kessler . I'd
                                                                    like to organize another , much larger ,
                                                                    event in Charlottesville later this
                                                      07:41:18
                                                                    Summer . I wanted to invite you and
                                                                    pick your brain about how to conceive
                                                                    this thing .

  Matt Heimbach    Redacted PII
  Sounds great , I'm at work right now ,
                                           07:41:56
  wanna chat tomorrow ?

                                                                   Redacted PII
                                                                           Redacted PII

                                                                    Sure. Give me a timeframe that works
                                                      07:42:48
                                                                    good for you

                                           Tuesday, May 30, 2017
  Matt Heimbach (+Redacted         PII
  Sorry, I'm on a call right now .         04:24:38

                                                                   Redacted PII
                                                                           Redacted PII

                                                                    Call me back when you get a chance . I
                                                      04:25:42      want to get your advice about the
                                                                    August 12th event in Charlottesville

                                           Monday, June 05, 2017
                                                                    +Redacted          PII
                                                                    Supposedly the KKK are trying to do a
                                                                    Cville event in July. I think that will hurt
                                                      08:32:34      the overall pro-white message . Can we
                                                                    convince them to come in plainclothes
                                                                    to the August thing instead ?

  Matt HeimbachRedacted      PII
  Lets set the dress code now , khakis
                                           09:36:14
  and a polo

                                                                        Redacted PII
                                                                    +1 Redacted PII

                                                      09:36:52      First we gotta deal with the Klan issue

  Matt Heimbach    Redacted PII
  That's in july                           09:39:01


  Separate event                           09:39:08


  The local white knights are morons       09:39:22


  Loyal                                    09:39:26



                                                                                                          Page 1 / 10
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                                   14053         Redacted PII
                                                                        Can we convince them to cancel this
                                                          10:02:13
                                                                        thing and join us in plainclothes ?

  Matt Heimbach (Redacted        PII
  No, the loyal white knights are run by
  proven federal informant and                10:24:45
  provocateur, chris barker


  The dude has like 30 felony convictions
                                              10:24:58
  etc


  He is not someone to be argued with or
  talked to , the Klan will rally , look
                                              10:25:36
  retarded, and do the most stereotypical
  Hollywood production in july

                                             Tuesday, June 06, 2017
                                                                        Redacted PII
                                                                        Is there no way we can get these
                                                          12:55:02      "Loyal White Knights " to cancel for the
                                                                        greater good of people ?


                                                                        This is supposed to be Unite the Right ,
                                                          12:55:52      not one small Klan group upstaging for
                                                                        their own self -interest

  Matt Heimbach (+1 (301 ) 525 -1474 )

  No                                          01:23:33


  You're missing what I 'm saying , their
  leader is a multiple convicted felon and    01:24:08
  a legit proven federal informant


  He is a government agent , he wants to
                                              01:24:33
  hurt us


  So no, we're stuck with a hood wearing
                                              01:25:19
  shitshow 3 weeks ahead of our event

                                             Saturday , June 10, 2017
  Matt Heimbach (+1 (301 ) 525 -1474 )

  Can't talk , text me .                      01:55:45

                                                                        Redacted PII
                                                                        Derrick told me NSM and some other
                                                                        groups are probably going to attend .
                                                          01:57:06      Can you help me make sure everyone
                                                                        knows not to bring nazi or klan
                                                                        iconography to the rally ?

  Matt Heimbach (+1 (301 ) 525 -1474 )

  Their insignia now is a rune                02:01:44



                                                                                                           Page 2 / 10
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                                   14054         Redacted PII
                                                                          I don't want any swasticas or salutes
                                                            02:25:03
                                                                          at the event


                                                                          It would only harm what everyone else
                                                            02:25:20
                                                                          is trying to do


                                                                          Besides this event is about the
                                                            02:25:51      Confederacy and should utilize that
                                                                          imagery

  Matt HeimbachRedacted      PII
  There wont be any swastikas from any
  group I'm affiliated with , i can guarantee    02:29:41
  that

                                                                          +Redacted    PII
                                                                          Thank you . Derrick told me Keystone
                                                                          United, EWK , GCK and some other
                                                            02:36:03
                                                                          groups may be coming . If so make
                                                                          sure the get the message .

  Matt Heimbach Redacted PII

  Np                                             02:46:50

                                                Thursday, June 15, 2017
                                                                          Redacted PII
                                                                          Please don 't countersignal the Alt -Light
                                                            10:44:00
                                                                          in the run -up to the Charlottesville event




                                                               10:44:06




                                                                                Matt Heimbach \attachment 1.JPG


                                                            10:44:28      We're working to get them to fall in line

  Matt Heimbach   Redacted PII
  Jason, we're ideologically incompatible
  with them , but ill keep it down for the       10:58:33
  sake of the event .




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                                   14055         +Redacted PII

                                                                       If we make this a pro -white &
                                                         10:59:56      pro-Southern I think that is a
                                                                       compromise we all can live with


                                                                       We don 't need to get into ideologies
                                                                       and so forth . I'm dragging the Alt -Light
                                                         11:00:48
                                                                       people to get down with the pro -white
                                                                       message

                                             Friday, June 16, 2017
  Matt Heimbach   Redacted PII
  Sorry man , that was a post a few
  weeks ago . Ive got a lot of guys in my
  ranks who are giving me shit over          02:49:05
  Redacted PII being anti WN . If hes
  onboard, we'll make it work

                                                                       +Redacted        PII
                                                                       We're taking him off the poster but he 'll
                                                                       be there explicitly to protect our guys . I
                                                         02:52:29      will bust his balls in the days leading
                                                                       up to the event so all his guys fall in
                                                                       line

  Matt Heimbach   Redacted PII
  Sounds great                               05:03:56

                                            Saturday , June 17, 2017
                                                                       Redacted PII




                                                            11:52:59




                                                                             Matt Heimbach \attachment 2.JPG

                                                         11:52:59      Here's the updated poster

                                            Tuesday, June 20, 2017
                                                                       Redacted PII
                                                         10:46:25      Are still up ?


                                                         10:46:46      I'd like to talk with you about NSM

                                             Monday, July 03, 2017




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                                   14056         Redacted PII
                                                                 Can we make sure Based Stickman is
                                                   12:58:40
                                                                 taken off any flyers that are out there ?




                                                      12:58:44




                                                                        Matt Heimbach \attachment 3.JPG


                                                                 We had him take off the first one
                                                   12:59:29      because he didnt want to be on it and
                                                                 he's pissed off

  Matt Heimbach    Redacted PII
  On it                                11:53:36

                                      Thursday, July 06, 2017
  Matt Heimbach    Redacted PII
  I'll call you right back .           10:49:13

                                                                 Redacted PII
                                                   10:49:23      Ok

                                      Saturday , July 08, 2017
                                                                 Redacted PII
                                                                 Happening Charlottesville now
                                                   02:37:49
                                                                 https :// twitter .com /altrighttradcat /statu
                                                                 s/883753754939412480

  Matt Heimbach    Redacted PII   )

  Wowsers                              02:59:57

                                                                 Redacted PII
                                                   09:24:07      Give me a call when you get a chance

  Matt Heimbach    Redacted PII
  You ok ?                             09:24:37

                                                                 Redacted PII
                                                                 Yeah, I just have something I need
                                                   09:25:10
                                                                 your help with

                                       Sunday, July 23, 2017



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  Matt Heimbach Redacted PII
                                   14057

  I'll call you right back .                   10:27:09

                                                                          +1Redacted      PII
                                                           10:27:20       Ok

                                             Sunday, August 06, 2017
                                                                          Redacted PII
                                                                          Can you put me in touch with your
                                                           12:14:17
                                                                          head of security for Unite the Right ?

                                             Saturday , August 12, 2017
  Matt Heimbach    Redacted PII
  What 's up                                   07:06:24

                                                                          Redacted PII
                                                                          I just wanted to make sure you and
                                                           07:06:34
                                                                          your guys are safe

  Matt Heimbach    Redacted PII
  Yessir                                       07:06:49

                                                                          Redacted PII
                                                           07:06:56       Any arrests ?

  Matt Heimbach    Redacted PII
  Parrott for civil disobedience               07:07:54

                                                                          +Redacted    PII
                                                                          We are going to fight these bastards .
                                                           07:08:47       They set us up . They don't know what
                                                                          they're in for.

  Matt Heimbach    Redacted PII
  Lets give them Total Far                     07:24:59


  War                                          07:26:10

                                             Sunday, August 13, 2017
  Matt Heimbach    Redacted PII
  We literally bled yesterday as y 'all
  stood behind the barricades safe and
  sound; and then you 're going to ask for
                                               10:47:36
  my men to protect you , again, but cut
  us out of the press conference ? That
  dog don't hunt

                                                                          Redacted PII
                                                                          I plan to be standing up for all of us .
                                                           10:50:29       But the message has to be tightly
                                                                          controlled



                                                                                                               Page 6 / 10
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  Redacted PII
                                   14058

  I'll call you right back .                   10:51:02


  Ok well we 're team players , but we
  won't be disrespected . We're either         10:53:55
  equal partners or we 're not, you decide

                                                                         Redacted PII
                                                                         There are people who are going to try
                                                           01:11:33
                                                                         to kill me if I don 't get some security

  Redacted PII
  Well , do you want to stand by TWP as
                                               01:22:57
  partners?

                                             Monday, August 14, 2017
                                                                         Redacted PII
                                                                         https :// rootbocks .com /projects /unite-rig
                                                           01:41:21
                                                                         ht-legal-defense-fund/

                                             Tuesday, August 15, 2017
  Matt HeimbachRedacted        PII
  Bad signal . Lemme call ya back in a
                                               08:28:20
  bit

                                                                         Redacted PII

                                                           10:37:01                attachment 4.vcf




                                                                         This is one of the guys who got doxxed
                                                                         and lost his job . He's a really good
                                                           10:37:01
                                                                         guy. If you have any trade work you
                                                                         can recommend him for that would be
                                                                         great.

                                             Thursday, August 17, 2017
                                                                         Redacted PII
                                                                         Do you have any good IT guys ? I have
                                                           03:57:36      two really important operations to tell
                                                                         you about

  Matt Heimbach    Redacted PII
  Just josh from rootbocks                     05:12:47

                                             Tuesday, August 22, 2017
  Matt Heimbach    Redacted PII
  Eric Redacted      PII                       05:46:11

                                              Friday, August 25, 2017
  Matt Heimbach    Redacted PII
  Can't talk , text me .                       01:27:28


                                                                                                               Page 7 / 10
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                                   14059         Redacted PII
                                                                           Is there someone from NF who can
                                                                           give me a debrief on interactions with
                                                                           police just before the rally ? I want to
                                                            01:28:55       rebut the claims they are making about
                                                                           us "refusing to follow the plan " but I
                                                                           need to make sure I get my facts
                                                                           straight

  Matt Heimbach        Redacted PII
        Redacted PII
  Ike                                           05:18:02


  From the league                               05:18:07

                                                                           Redacted PII
                                                                           Have you got a contact number for
                                                            06:08:28
                                                                           him?

  Matt Heimbach        Redacted PII
  Yessir , lemme ask his permission real
                                                06:14:19
  quick

        Redacted PII
  Ike
                                                06:28:24
  Redacted PII


  Chief of staff for the league                 06:28:32


  He was the NF point of contact for the
                                                06:28:42
  cops

                                              Saturday , August 26, 2017
                                                                           Redacted PII
                                                            04:59:01       What is Matt Parrott 's number ?

  Matt Heimbach Redacted PII

 Redacted PII                                   05:56:55

                                            Wednesday , August 30, 2017
                                                                           Redacted PII
                                                                           I'm going to be freed up after tomorrow .
                                                            07:55:30       As soon as you guys ok me for work in
                                                                           TN I'll come out there

                                             Thursday, August 31, 2017
  Matt Heimbach        Redacted PII
  Kk , Eric is on vacation , just stay in
                                                12:46:56
  touch with him

                                            Thursday, September 07, 2017
  Matt Heimbach        Redacted PII
  Can't talk , text me .                        08:56:39




                                                                                                               Page 8 / 10
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                                    14060          Redacted PII Redacted PII




                                                                   I don't know if you 've been watching
                                                                   any of these clown girl Charlottesville
                                                  09:45:54         city Council meetings or been
                                                                   happening but I 'm planning to go to the
                                                                   next one on the 18th


                                                                   I was wondering if you had any
                                                  09:46:08         volunteer if you might be interested in
                                                                   going as well

                                   Saturday , September 16, 2017
  Matt Heimbach   Redacted PII
  Can't talk , text me .               04:26:34

                                                                Redacted PII
                                                                   2 things :

                                                                   1. I want to talk to you about putting
                                                                   together a lawsuit against
                                                                   Charlottesville. I want you & Dr Hill to
                                                                   either be plaintiffs or elect a
                                                                   representative from your organizations
                                                                   so that all of the speakers (who will
                                                                   cooperate) are represented . Time is of
                                                  04:30:10
                                                                   the essence on this .

                                                                   2. I'm going to speak at Charlottesville
                                                                   City Council on Monday . Its could be a
                                                                   big opportunity to call these bastards
                                                                   out and get some media coverage of
                                                                   that. If you have any volunteers that
                                                                   could come as security it would be
                                                                   appreciated .

  Matt Heimbach   Redacted PII
  Sweet, lemme call you tomorrow       04:35:26

                                    Tuesday, October 24, 2017
                                                                Redacted PII




                                                     12:10:13




                                                                               Matt Heimbach \attachment 5.JPG

  Matt Heimbach   Redacted PII
  Oh jeepers                           12:27:48

                                    Monday, December 04, 2017

                                                                                                        Page 9 / 10
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                                    14061        Redacted PII
                                                           It’s my understanding that Duke called
                                                           earlier to compliment you on your
                                            07:40:03       speech in DC . I would HIGHLY
                                                           recommend you call him back and
                                                           patch things up .


                                                           I think everyone would want to hear you
                                            07:40:39       on his program and it would be a good
                                                           opportunity to talk about the fundraiser .

                               Monday, January 01, 2018
                                                           Redacted PII
                                                           When did you say you’re coming back
                                            06:35:37
                                                           to Charlottesville ?

                              Tuesday, February 13, 2018
                                                           Redacted PII
                                            03:34:36       Give me a call when you get a moment




                                                                                             Page 10 / 10
